     Case 9:17-cv-00050-DLC-JCL Document 99 Filed 06/26/18 Page 1 of 4



Marc J. Randazza (pro hac vice)
RANDAZZA LEGAL GROUP, PLLC
2764 Lake Sahara Drive, Suite 109
Las Vegas, Nevada 89117
Tel: (702) 420-2001
ecf@randazza.com
Jay M. Wolman (pro hac vice)
RANDAZZA LEGAL GROUP, PLLC
100 Pearl Street, 14th Floor
Hartford, Connecticut 06103
Tel: (702) 420-2001
ecf@randazza.com
Mathew M. Stevenson, St. Bar # 6876
STEVENSON LAW OFFICE
1120 Kensington, Suite B
Missoula, MT 59801
Tel: (406) 721-7000
matstevenson@bigskylegal.com

Attorneys for Defendant,
Andrew Anglin

                    UNITED STATES DISTRICT COURT
                           DISTRICT OF MONTANA
                            MISSOULA DIVISION


                                      )
TANYA GERSH,                          )    Case No. 9:17-cv-50-DLC-JCL
                                      )
             Plaintiff,               )
                                      )          NOTICE OF
       vs.
                                      )   SUPPLEMENTAL AUTHORITY
ANDREW ANGLIN,                        )
                                      )
             Defendant.               )
                                      )
                                      )
      Case 9:17-cv-00050-DLC-JCL Document 99 Filed 06/26/18 Page 2 of 4




                NOTICE OF SUPPLEMENTAL AUTHORITY

      Pending before this Court are Defendant’s Objections to the Findings and

Recommendations of the Magistrate Judge (Dkt. No. 91) as to his Motion to Dismiss

(Dkt. No. 31). In the Objections, Defendant argues that the speech sought to be

restricted does not fall into any historical category of unprotected speech and no new

category should be created. Dkt. No. 91 at pp. 3-4. In doing so, Defendant cited to
the plurality opinion in United States v. Alvarez, 567 U.S. 709 (2012).

      Today, the U.S. Supreme Court adopted the Alvarez plurality opinion as part

of its holding as to whether “professional speech” may be carved out as a separate

unprotected category. Specifically, it held:

      But this Court has not recognized “professional speech” as a separate
      category of speech. Speech is not unprotected merely because it is
      uttered by “professionals.” This Court has “been reluctant to mark off
      new categories of speech for diminished constitutional protection.”
      Denver Area Ed. Telecommunications Consortium, Inc. v. FCC, 518
      U.S. 727, 804 (1996) (Kennedy, J., concurring in part, concurring in
      judgment in part, and dissenting in part). And it has been especially
      reluctant to “exemp[t] a category of speech from the normal prohibition
      on content-based restrictions.” United States v. Alvarez, 567 U.S. 709,
      722 (2012) (plurality opinion). This Court’s precedents do not permit
      governments to impose content-based restrictions on speech without
      “‘persuasive evidence … of a long (if heretofore unrecognized)
      tradition’” to that effect. Ibid. (quoting Brown v. Entertainment
      Merchants Assn., 564 U. S. 786, 792 (2011)).
Nat'l Inst. of Family & Life Advocates v. Becerra, No. 16-1140, 2018 U.S. LEXIS

4025, at *16-17 (June 26, 2018) (slip op. at 8).

      In Alvarez, the Supreme Court specifically identified “defamation” as a

category of unprotected speech. 567 U.S. at 717. Plaintiff seeks to create a brand-

                                         -1-
                           Notice of Supplemental Authority
                                 9:17-cv-50-DLC-JCL
      Case 9:17-cv-00050-DLC-JCL Document 99 Filed 06/26/18 Page 3 of 4




new category of “tortious speech” (Dkt. No. 98 at 14); although Plaintiff lumps in

defamation into this group, the Supreme Court did not generalize the tort of

defamation to mandate that all so-called tortious speech is unprotected. There is no

long, heretofore unrecognized tradition of restricting allegedly harassing speech, let

alone a tradition of restricting the speech that allegedly inspired harassing speech.

      Defendant hereby advises the Court by notice of supplemental authority
pursuant to Local Rule 7.4. The authority was not previously cited as the decision

had not yet then-issued. This decision reversed the Ninth Circuit Court of Appeals’

decision in Nat'l Inst. of Family & Life Advocates v. Harris, 839 F.3d 823 (9th Cir.

2016). Today’s ruling is dispositive and the Complaint must be dismissed.


      Dated: June 26, 2018.            Respectfully submitted,
                                       /s/ Marc J. Randazza
                                       Marc J. Randazza (pro hac vice)
                                       RANDAZZA LEGAL GROUP, PLLC
                                       4035 S. El Capitan Way
                                       Las Vegas, Nevada 89147
                                       /s/ Jay M. Wolman
                                       Jay M. Wolman (pro hac vice)
                                       RANDAZZA LEGAL GROUP, PLLC
                                       100 Pearl Street, 14th Floor
                                       Hartford, Connecticut 06103
                                       /s/ Mathew M. Stevenson
                                       Mathew M. Stevenson
                                       STEVENSON LAW OFFICE
                                       1120 Kensington, Suite B
                                       Missoula, MT 59801
                                       Attorneys for Defendant,
                                       Andrew Anglin




                                         -2-
                           Notice of Supplemental Authority
                                 9:17-cv-50-DLC-JCL
      Case 9:17-cv-00050-DLC-JCL Document 99 Filed 06/26/18 Page 4 of 4




                                                      Case No. 9:17-cv-50-DLC-JCL

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 26, 2018, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I further certify

that a true and correct copy of the foregoing document being served via transmission

of Notices of Electronic Filing generated by CM/ECF.

                                       /s/ Marc J. Randazza
                                       Marc J. Randazza




                                         -3-
                           Notice of Supplemental Authority
                                 9:17-cv-50-DLC-JCL
